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               IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                                BID PROTEST

AMAZON WEB SERVICES, INC.,                       )
                                                 )
               Plaintiff,                        )
                                                 )
               v.                                )             No. 19-1796C
                                                 )    (Judge Patricia E. Campbell-Smith)
THE UNITED STATES,                               )
                                                 )
               Defendant,                        )
                                                 )
and                                              )
                                                 )
MICROSOFT CORPORATION,                           )
                                                 )
               Intervenor-Defendant.             )

                                  JOINT STATUS REPORT

       Pursuant to the Court’s order dated April 17, 2020 (ECF No. 203), the parties jointly and

respectfully provide the following report concerning the status of proceedings on remand. On

remand, the United States Department of Defense (DoD) has proceeded to reconsider aspects of

the procurement challenged in this protest action, and continues to do so.

       Specifically, on April 21, 2020, DoD issued Amendment 0007 to Solicitation No.

HQ003418R0077, which, among other things, modified some of the language concerning Factor

5, Price Scenario 6. Subsequently, on April 28, 2020, DoD issued Amendment 0008 to the

solicitation, answering questions about Amendment 0007 and further modifying some of the

solicitation language. Amendment 0007 permitted offerors to submit revised proposals by May

5, 2020. Plaintiff, Amazon Web Services, Inc. (AWS), and Intervenor-Defendant, Microsoft

Corporation (Microsoft), each submitted revised proposals prior to the deadline.

       On May 4, 2020, AWS submitted a pre-award, agency-level protest to the contracting

officer, seeking clarification regarding some of the terms of Amendments 0007 and 0008. On
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May 14, 2020, DoD issued Amendment 0009 to the solicitation to clarify, modifying some of the

language of the solicitation amendments, and permitting offerors to either submit revised

proposals in light of the clarification to the solicitation language, or affirm that its May 5, 2020

proposals aligned with the clarification in Amendment 0009. Both AWS and Microsoft timely

responded to Amendment 0009.

       DoD continues to evaluate the offerors’ revised proposals, and more time is required to

complete this process. Also, throughout the time that this case has been remanded, DoD has

proceeded to reexamine its decisions with regard to other aspects of the procurement. More time

is required to complete this process.

       Additionally, DoD now anticipates that another solicitation amendment will be necessary,

and additional limited proposal revisions will be permitted. DoD anticipates that this solicitation

amendment will be issued by June 22, 2020, and that proposal revisions will be due by no later

than July 7, 2020. Thereafter, these revised proposals will be evaluated.

       After evaluations are complete, the Source Selection Evaluation Board, Source Selection

Advisory Council, and Source Selection Authority will perform their duties as prescribed by the

solicitation, and a new award decision will be issued. At this point, DoD anticipates that it will

be in a position to complete remand proceedings by August 17, 2020. Given the need for

another solicitation amendment and the evaluation of new proposal revisions, however, it is

possible that some additional time may be necessary. If and when such a need becomes

apparent, the United States will move for an extension of the remand pursuant to Rule 52.2(c) of

the Rules of the United States Court of Federal Claims.



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                                        Respectfully submitted,

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                      Dated: June 16, 2020




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